Case 2:21-cv-01536-AMM Document 90-1 Filed 01/03/22 Page 1 of 3            FILED
                                                                  2022 Jan-03 AM 09:46
                                                                  U.S. DISTRICT COURT
                                                                      N.D. OF ALABAMA




                           EXHIBIT 1
                                         State
                                       Case       of Alabama
                                            2:21-cv-01536-AMM   Voter90-1
                                                              Document Registration
                                                                          Filed 01/03/22 Form
                                                                                         Page 2 of 3
                                                                                                                                                                                    NVRA-2
                                                                                                                                                                                     2021.03.08

                       FOR USE BY U.S. CITIZENS ONLY  FILL IN ALL BOXES ON THIS FORM  PLEASE USE INK  PRINT LEGIBLY
You can use this form to:                                                                              To register to vote in the State of Alabama, you must:
   Register to vote in Alabama.                                                                         Be a citizen of the United States.
   Update your voter registration record, if you have                                                   Live in Alabama.
    changed your name or address.                                                                        Be at least 18 years of age on or before election day.
Deadline for submitting application:                                                                     Not have been convicted of a disqualifying felony, or if you have
 Voter registration and updating of voter records is closed                                               been convicted, you must have had your civil rights restored.
 during the 14 days prior to each election in Alabama.                                                   Not have been declared "mentally incompetent" by a court.
ID requested: You may send with this application a copy of valid photo identification. You will be required to present valid photo identification when you vote at your polling place
or by absentee ballot, unless exempted by law. For more information, go to www.alabamavotes.gov or call the Elections Division: 800-274-8683.

 Are you a citizen of the United States of America?                                          Yes         No        Å ATTENTION! If you answer "No" to either of these
 Will you be 18 years of age on or before election day?                                      Yes         No        Å questions, do not complete this application.
 Print Your Name:                                                                                                      Alabama Driver's
  First                          Middle                                  Last                                  Suffix   License or Non-
                                                                                                                        Driver ID Number:      STATE        NUMBER
 Print Maiden Name / Former Name (if reporting a change of name)                                                             IF YOU HAVE NO ALABAMA DRIVER'S LICENSE
  First                          Middle                                  Last                                  Suffix             OR ALABAMA NON-DRIVER ID NUMBER
                                                                                                                             Last four digits of Social
                                                                                                                             Security number:
 Date of Birth (mm/dd/yyyy)  Primary Telephone  Email Address
                                                                                                                             I do not have an Alabama driver's license or Alabama
                                          (      )                                                                           non-driver ID or a Social Security number.

                 Address where you live:
                                                     Home Address (include apartment or other unit number if applicable)        City                          State                ZIP

                  (Do not use post office box)
        Current
    Addresses




                                                     Mailing Address, if different from Home Address                            City                          State                 ZIP
                    Address where you
                    receive your mail:

                  Address where you were Former Address                                                        City                    County                 State                ZIP
Old




                   last registered to vote:
                  (Do not use post office box)


 Sex (check one)                                           11 Place of Birth          City                         County                      State                   Country

             Female                Male

 Race (check one)                                          12 Map / Diagram                                                              13 Did you receive assistance?
           White                 Black                      If your home has no street number or name, please draw a map of               If you are unable to sign your name, who helped
                                                            where your house is located. Please include roads and landmarks.              you fill out this application? Give name, address,
           Asian                 American Indian                                                                                          and phone number (phone number is optional).
           Hispanic              Other

 REGISTRARS USE ONLY
                                                                               Voter Declaration - Read and Sign Under Penalty of Perjury
 DATE                APPROVED                 DENIED
                                                              I am a U.S. citizen                        I solemnly swear or affirm to support and
                                                              I live in the State of Alabama             defend the constitution of the United States
                        (mm/dd/yyyy)
                                                              I will be at least 18 years of age on or   and the State of Alabama and further disavow
  County Pct                                                   before election day                        any belief or affiliation with any group which
                                                              I am not barred from voting by reason      advocates the overthrow of the governments
 City Pct                                                      of a disqualifying felony conviction       of the United States or the State of Alabama
                                                               (The list of disqualifying felonies is     by unlawful means and that the information
                                                               available on the Secretary of State's      contained herein is true, so help me God.
  Board member                                                 website at: sos.alabama.gov/mtfelo-        OPTIONAL: Because of a sincerely held belief, I decline to include
                                                               nies)                                      the final four words of the oath above.

                                                              I have not been judged "mentally
  Board member                                                 incompetent" in a court of law

                                                            YOUR SIGNATURE                                                                        DATE (mm/dd/yyyy)
  Board member                             If you falsely sign this statement, you can be convicted and imprisoned for up to five years.
The decision to register to vote is yours. If you decide to register to vote, the office at which you are submitting this application will
remain confidential and will be used only for voter registration purposes. If you decline to register to vote, your decision will remain
confidential and will be used only for voter registration purposes.


                   John H. Merrill - Secretary of State                         Questions? Call the Elections Division at 1-800-274-8683 or 334-242-7210
                                                                                                                                                Caster Plaintiffs' Exhibit 104, Page 1
To mail, put the address of your county Board of Registrars on the lines below.
AUTAUGA COUNTY
                                Case 2:21-cv-01536-AMM
                             CHILTON COUNTY  CRENSHAW COUNTY
                                                             Document
                                                              FRANKLIN COUNTY
                                                                              90-1 LAWRENCE
                                                                                   Filed 01/03/22
                                                                                            COUNTY
                                                                                                    Page 3 of 3
                                                                                                   MONROE COUNTY                                                            SUMTER COUNTY
PO Box 680036                PO Box 640                 PO Box 328                 PO Box 70                   14451 Market Street Ste 340     PO Box 972                   PO Box 783
Prattville 36068-0036        Clanton 35046-0640         Luverne 36049-0328         Russellville 35653-0070     Moulton 35650                   Monroeville 36461-0972       Livingston 35470-0783
(334) 358-6740               (205) 755-3820             (334) 335-6568 x251        (256) 332-8849              (256) 974-2460                  (251) 743-4107 x141          (205) 652-7902
                                                        (334) 335-6568 x252                                    (256) 974-2461
BALDWIN COUNTY               CHOCTAW COUNTY             (334) 335-6568 x253        GENEVA COUNTY                                               MONTGOMERY COUNTY            TALLADEGA COUNTY
PO Box 1507                  117 S Mulberry Ave Ste 1                              PO Box 430                  LEE COUNTY                      PO Box 1667                  PO Box 6170
Bay Minette 36507-1507       Butler 36904-0132          CULLMAN COUNTY             Geneva 36340-0430           PO Box 1530                     Montgomery 36102-1667        Talladega 35161-6170
(251) 937-0305               (205) 459-2531             500 2nd Ave SW Rm 112      (334) 684-5655              Opelika 36803-1530              (334) 832-1215               (256) 761-2131
                                                        Cullman 35055-4135                                     (334) 737-3635                                               (256) 761-2132
BARBOUR COUNTY               CLARKE COUNTY              (256) 775-4750             GREENE COUNTY                                               MORGAN COUNTY
303 E Broad St Rm 108        PO Box 10                  (256) 755-4697             PO Box 224                  LIMESTONE COUNTY                PO Box 668                   TALLAPOOSA COUNTY
Eufaula 36027                Grove Hill 36451-0010                                 Eutaw 35462-0224            100 Clinton St S Ste E          Decatur 35602-0668           125 N Broadnax St Rm 20
(334) 687-1585               (251) 275-3062             DALE COUNTY                (205) 372-9669              Athens 35611-2665               (256) 351-4660               Dadeville 36853-1371
                                                        PO Box 1101                                            (256) 233-6405                  (256) 351-4663               (256) 825-1081
BIBB COUNTY                  CLAY COUNTY                                           HALE COUNTY
                                                        Ozark 36361-1101
8 Court Square W             PO Box 446                                            905-D Centerville St        LOWNDES COUNTY                  PERRY COUNTY                 TUSCALOOSA COUNTY
                                                        (334) 774-9038
Centreville 35042            Ashland 36251-0446                                    Greensboro 36744-1536       PO Box 311                      PO Box 555                   2501 7th St Ste 200
(205) 926-3102               (256) 354-7815             DALLAS COUNTY              (334) 624-4672              Hayneville 36040-0311           Marion 36756-0555            Tuscaloosa 35401-1801
                                                        PO Box 987                                             (334) 548-2389                  (334) 683-2218 x5            (205) 349-3870 x415
BLOUNT COUNTY                CLEBURNE COUNTY                                       HENRY COUNTY                (334) 548-2080
                                                        Selma 36702-0987
220 Second Ave E Rm B-5      120 Vickery St Rm 103                                 101 Court Square Ste K                                      PICKENS COUNTY               WALKER COUNTY
                                                        (334) 874-2534                                         MACON COUNTY
Oneonta 35121                Heflin 36264-1166                                     Abbeville 36310-2135                                        PO Box 173                   PO Box 1472
                                                                                   (334) 585-6080              101 E Rosa Parks Ave Ste 100
(205) 625-4182               (256) 463-5299             DEKALB COUNTY                                                                          Carrollton 35447-0173        Jasper 35502-1472
                                                                                                               Tuskegee 36083-1735
                                                        111 Grand Ave SW Ste 105   HOUSTON COUNTY                                              (205) 367-2074               (205) 384-7279
                                                                                                               (334) 724-2617
BULLOCK COUNTY               COFFEE COUNTY              Fort Payne 35967           PO Box 6406
217 Prairie St N Rm 101      6 County Complex           (256) 845-8598                                         MADISON COUNTY                  PIKE COUNTY                  WASHINGTON COUNTY
                                                                                   Dothan 36302-6406
Union Springs 36089-1659     New Brockton 36351-9791                                                           819 Cook Avenue NW Ste 150      120 W Church St Rm B2        PO Box 1224
                                                                                   (334) 677-4776
(334) 738-5372               (334) 894-5347             ELMORE COUNTY                                          Huntsville 35801-5983           Troy 36081-1913              Chatom 36518-1224
                                                        100 E Commerce St Rm 205   JACKSON COUNTY              (256) 532-3510                  (334) 566-1757               (251) 847-3255
BUTLER COUNTY                COLBERT COUNTY             Wetumpka 36092-2746        102 E Laurel St                                             (334) 566-6449
700 Court Sq Rm 8            201 N Main St              (334) 567-1150             Scottsboro 35768            MARENGO COUNTY                                               WILCOX COUNTY
Greenville 36037-2308        Tuscumbia 35674-2095       (334) 567-1197             (256) 574-9339              PO Box 480715                   RANDOLPH COUNTY              PO Box 661
(334) 382-5685               (256) 386-8535                                        (256) 574-9335              Linden 36748-0715               PO Box 215                   Camden 36726-0661
(334) 382-6829                                          ESCAMBIA COUNTY                                        (334) 295-2249                  Wedowee 36278-0215           (334) 682-9753
                             CONECUH COUNTY             PO Box 557                 JEFFERSON COUNTY            (334) 295-2086                  (256) 357-2138
CALHOUN COUNTY               111 Court St Rm 102        Brewton 36427-0557         716 R Arrington Jr Blvd N                                                                WINSTON COUNTY
1702 Noble St Ste 113        Evergreen 36401            (251) 867-0243                 Ste A-410               MARION COUNTY                   RUSSELL COUNTY               PO Box 459
Anniston 36201-3889          (251) 578-7024             (251) 867-0312             Birmingham 35203-0115       PO Box 964                      PO Box 700                   Double Springs 35553-0459
(256) 241-2930                                                                     (205) 325-5550              Hamilton 35570-0964             Phenix City 36868-0700       (205) 489-3966
                             COOSA COUNTY               ETOWAH COUNTY                                          (205) 921-3625                  (334) 298-1443
CHAMBERS COUNTY              PO Box 218                 800 Forrest Ave Ste 206    LAMAR COUNTY                                                (334) 448-1508               SECRETARY OF STATE
18 Alabama Ave E Rm 101      Rockford 35136-0218        Gadsden 35901-3651         PO Box 338                  MARSHALL COUNTY                                              ELECTIONS DIVISION
Lafayette 36862              (256) 377-2418             (256) 549-5384             Vernon 35592-0338           424 Blount Ave Ste 106A         SHELBY COUNTY                PO Box 5616
(334) 864-4313                                                                     (205) 695-6348              Guntersville 35976-1122         PO Box 1642                  Montgomery 36103
                             COVINGTON COUNTY           FAYETTE COUNTY             (205) 695-9197              (256) 571-7740                  Columbiana 35051-1642        (334) 242-7210
CHEROKEE COUNTY              228 Hillcrest Dr           103 First Ave NW Ste 4                                                                 (205) 669-3913               (800) 274-8683
260 Cedar Bluff Rd Ste 106   Andalusia 36420-2570                                  LAUDERDALE COUNTY           MOBILE COUNTY
                                                        Fayette 35555-2627
Centre 35960-1403            (334) 428-2685                                        PO Box 1059                 151 Government St Ste 165       ST. CLAIR COUNTY
                                                        (205) 932-5432
(256) 927-5336                                                                     Florence 35631-1059         Mobile 36602                    1815 Cogswell Ave Ste B-25
                                                                                   (256) 760-5840              (251) 574-8586                  Pell City 35125
                                                                                   (256) 760-5841              (251) 574-8587                  (205) 338-3954




       YOUR ADDRESS:                                                                                                                                                                PUT
                                                                                                                                                                                   FIRST
                                                                                                                                                                                  CLASS
                                                                                                                                                                                  STAMP
                                                                                                                                                                                   HERE




                                                                        MAIL TO:


                                                                        BOARD OF REGISTRARS




                                                                                                                                        Caster Plaintiffs' Exhibit 104, Page 2
